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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 21-cr-20259-RKA

  UNITED STATES OF AMERICA,

  vs.

  RENE PEDROSA
  _____________________________________/

                                MOTION TO DISMISS THE
                            SUPERSEDING INDICTMENT (DE 47)

         The Defendant, Rene Pedrosa, by and through undersigned counsel, files this Motion to

  Dismiss the Superseding Indictment (DE 47), pursuant to Rule 6 of The Federal Rules of

  Criminal Procedure, and states as follows:

  I.     The Superseding Indictment (DE 47) was never signed by the Foreperson.

         Rule 6(c) of The Federal Rules of Criminal Procedure requires the Court to appoint one

  member of the jury as foreperson who “. . . may administer oaths affirmations and will sign all

  indictments.” (Emphasis added). Rule 6 mandates that the foreperson sign the Superseding

  Indictment (DE 47). Fed. R. Crim. P. R 6(c). On page five (5) of the Superseding Indictment

  (DE 47) such signature is absent where mandated by the Federal Rules of Criminal Procedure.

  II.    Conclusion

         Undersigned counsel has conferred with Assistant United States Attorney Jessica

  Obenauf regarding with this motion and she objects to this motion.

         WHEREFORE, the Defendant, Rene Pedrosa, respectfully requests that the Court grant

  this motion, and dismiss the Superseding Indictment (DE 47) on the grounds that it has failed to




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  comply with Rule 6(c) of The Federal Rules of Criminal Procedure, and such other relief that

  this Court deems just and proper.




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   BY: /s/ Rick Yabor                                  BY: /s/ Susy Ribero-Ayala
      RICK L. YABOR                                       SUSY RIBERO-AYALA
      Florida Bar No: 191019                              Florida Bar No. 993352


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY on May 18, 2022, I electronically filed the forgoing document

  with the Clerk of the Court using CM/ECF. I also certify the forgoing document is being served

  this day on all counsel of record either via transmission of Notices of Electronic Filing generated

  by CM/ECF or in another authorized manner for those counsel or parties not authorized to

  receive electronically Notices of Electronic Filing.

                                        BY: /s/ Rick Yabor
                                           RICK L. YABOR




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